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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                         DEBORAH WESCH, et al.,
                                   7                                                         Case No. 20-cv-05991-SK
                                                        Plaintiffs,
                                   8
                                                 v.                                          ORDER ON MOTION TO STRIKE
                                   9                                                         AFFIRMATIVE DEFENSES
                                         YODLEE, INC., et al.,
                                  10                                                         Regarding Docket No. 114
                                                        Defendants.
                                  11

                                  12          This matter comes before the Court upon consideration of Plaintiffs’ motion to strike the
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                                  13   affirmative defenses of Defendant Yodlee, Inc. Having carefully considered the parties’ papers,

                                  14   relevant legal authority, and the record in the case, the Court hereby GRANTS Plaintiffs’ motion

                                  15   for the reasons set forth below.

                                  16                                                ANALYSIS

                                  17   A.     Legal Standards on Motion to Strike.

                                  18          Under Rule 12(f), a court may strike from a pleading “any insufficient defense or any

                                  19   redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). Immaterial

                                  20   matter “is that which has no essential or important relationship to the claim for relief or the

                                  21   defenses being pleaded.” Fantasy Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on

                                  22   other grounds by Fogerty v. Fantasy, Inc., 510 U.S. 517 (1994) (internal citations and quotations

                                  23   omitted). Impertinent material “consists of statements that do not pertain, and are not necessary,

                                  24   to the issues in question.” Id. (internal citations and quotations omitted). Motions to strike are

                                  25   regarded with disfavor because they are often used as delaying tactics and because of the limited

                                  26   importance of pleadings in federal practice. Colaprico v. Sun Microsystems Inc., 758 F. Supp.

                                  27   1335, 1339 (N.D. Cal. 1991). A motion to strike should be resorted to only when the matter to be

                                  28   stricken could have no possible bearing on the issues in litigation. LeDuc v. Kentucky Central Life
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                                   1   Ins. Co., 814 F. Supp. 820, 830 (N.D. Cal. 1992). Ultimately, the decision as to whether to strike

                                   2   allegations is a matter within the Court’s discretion. Colaprico, 758 F. Supp. at 1339.

                                   3   B.     Plaintiffs’ Motion to Strike.
                                   4          1.      Invalid Affirmative Defenses.

                                   5          Plaintiffs move to strike Yodlee’s Affirmative Defense Nos. 1-2, 6-8, 14-16, 18, and 23-26

                                   6   because they are not valid affirmative defenses. An allegation that a plaintiff “has not met its

                                   7   burden of proof is not an affirmative defense.” See Zivkovic v. S. California Edison Co., 302 F.3d

                                   8   1080, 1088 (9th Cir. 2002). “An affirmative defense, under the meaning of Federal Rule of Civil

                                   9   Procedure 8(c), is a defense that does not negate the elements of the plaintiff’s claim, but instead

                                  10   precludes liability even if all of the elements of the plaintiff’s claim are proven.” Barnes v. AT &

                                  11   T Pension Ben. Plan-Nonbargained Program, 718 F. Supp. 2d 1167, 1173-74 (N.D. Cal. 2010)

                                  12   (citation omitted). Instead, an affirmative defense is one on which the defendant bears the burden
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                                  13   of proof. Kanne v. Connecticut General Life Ins. Co., 867 F.2d 489, 492 n. 4 (9th Cir.1988).

                                  14          Yodlee does not deny that the challenged defenses are not valid affirmative defenses.

                                  15   Instead, Yodlee argues that it commonplace to plead such defenses as affirmative defenses and

                                  16   that the Court should deny Plaintiffs’ motion because Plaintiff suffers no prejudice from the

                                  17   inclusion of these allegations in the affirmative defenses. Other courts in this district have rejected

                                  18   such arguments. See e.g., Barnes, 718 F. Supp. 2d at 1173 (holding defendant’s “arguments

                                  19   regarding prejudice cannot rescue its otherwise legally insufficient affirmative defenses”);

                                  20   Hartford Underwriters Ins. Co. v. Kraus USA, Inc., 313 F.R.D. 572, 575 (N.D. Cal. 2016) (“[A]

                                  21   motion to strike an insufficient affirmative defense does not require a prejudice showing.”);

                                  22   LumaSense Techs., Inc. v. Advanced Eng’g Servs., LLC, 2021 WL 2953237, at *5 (N.D. Cal. July

                                  23   14, 2021) (rejecting argument that court should not strike improper affirmative defenses absent

                                  24   prejudice: “As a pragmatist, I could agree with that sentiment, but not as a judge. Granting a

                                  25   motion to strike under Rule 12(f) does not turn on whether the moving party can show prejudice. .

                                  26   . .”). Because it is undisputed that Affirmative Defenses Nos. 1-2, 6-8, 14-16, 18, and 23-26 are

                                  27   not actually affirmative defenses, the Court GRANTS Plaintiffs’ motion to strike Affirmative

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                                   1   Defense Nos. 1-2, 6-8, 14-16, 18, and 23-26.1

                                   2          2.      Insufficiently Plead Affirmative Defenses.
                                   3          Plaintiffs also move to strike Affirmative Defense Nos. 3, 5, 9, 19, 27, and 28 because they

                                   4   fail to provide sufficient notice. While the Ninth Circuit has not yet ruled on the issue, the

                                   5   majority of district courts have concluded that the pleading standards set forth in Bell Atlantic

                                   6   Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009) apply to

                                   7   affirmative defenses. See Hartford Underwriters Ins. Co. v. Kraus USA, Inc., 313 F.R.D. 572, 574

                                   8   (N.D. Cal. 2016) (noting majority of district courts have applied pleading standards from Twombly

                                   9   and Iqbal); see also Jacobson v. Persolve, 2014 WL 4090809, at *5 (N.D. Cal. Aug. 19, 2014)

                                  10   (collecting cases). Under this standard, “[w]hile a defense need not include extensive factual

                                  11   allegations in order to give fair notice, bare statements reciting mere legal conclusions may not be

                                  12   sufficient.” Perez v. Gordon & Wong Law Grp., P.C., 2012 WL 1029425, at *8 (N.D. Cal. Mar.
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                                  13   26, 2012). “Just as a plaintiff’s complaint must allege enough supporting facts to nudge a legal

                                  14   claim across the line separating plausibility from mere possibility, a defendant’s pleading of

                                  15   affirmative defenses must put a plaintiff on notice of the underlying factual bases of the defense.”

                                  16   Perez, 2012 WL 1029425, at *8 (internal quotation marks omitted).

                                  17          Yodlee counters that, pursuant to Kohler v. Flava Enterprises, Inc., 779 F.3d 1016, 1019

                                  18   (9th Cir. 2015), only “fair notice” is required for affirmative defenses and that fair notice only

                                  19   requires describing a defense in general terms. However, “[a] vast majority of courts in this

                                  20   district have held that Kohler did not directly address whether the Twombly and Iqbal standard

                                  21   applies to pleading affirmative defenses.” United States v. Acad. Mortg. Corp., 2020 WL

                                  22   7056017, at *2 (N.D. Cal. Dec. 2, 2020); see also “AMY” v. Curtis, 2020 WL 6271046, *3 (N.D.

                                  23   Cal. Oct. 26, 2020) (“[E]ven after Kohler, courts in this district continue to require affirmative

                                  24   defenses to meet the Twombly/Iqbal standard.”); Prods. and Ventures Int’l v. Axus Stationary

                                  25   (Shanghai) Ltd., 2017 WL 1330598, at *3 (N.D. Cal. Apr. 11, 2017) (“Absent controlling

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                                                 While technically proper, the Court does note that moving to strike these defenses does
                                  28   not materially advance the litigation. Yodlee may still assert these arguments in other forms even
                                       if not included as an Affirmative Defense.
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                                   1   authority to the contrary, this Court joins its sister courts in this district in continuing to apply [the

                                   2   Twombly/Iqbal] standard here.”). As the court explained in Academy Mortgage,

                                   3                   There are strong policy reasons for requiring parties to meet the
                                                       pleading standard set forth in Twombly and Iqbal for affirmative
                                   4                   defenses. It aids in streamlining case management and judicial
                                                       economy by “cutting off vague or even frivolous claims early, thus
                                   5                   avoiding the time and expense of unnecessary or far-ranging
                                                       discovery.” Hayden v. United States, 147 F. Supp. 3d 1125, 1131 (D.
                                   6                   Or. 1995). This is particularly true where it is an all-too-common
                                                       practice of proffering a litany of canned affirmative defenses with no
                                   7                   supporting factual allegations.
                                   8   Id, 2020 WL 7056017, at *2. The Court concurs and will apply the pleading standard set forth in

                                   9   Twombly and Iqbal.

                                  10                   i.      Affirmative Defenses 3, 9 and 28.
                                  11           In its third affirmative defense, Yodlee alleges: “Plaintiffs’ claims are barred, in whole or

                                  12   in part, by laches and/or by the relevant statutes of limitations for each claim, including, without
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                                  13   limitation, Cal. Code. Civ. P. § 335.1 and Cal. Civ. Code § 338(d).” (Dkt. No. 99.) While Yodlee

                                  14   does include two statutes, it does not limit its defense to these statutes. Additionally, Yodlee does

                                  15   not allege any facts to support this defense. Yodlee argues that its failure to allege any facts is due

                                  16   to Plaintiffs’ failure to allege facts regarding when the alleged conduct occurred. This argument

                                  17   merely means that Yodlee currently lacks sufficient knowledge that this defense is applicable.

                                  18           In its ninth affirmative defense, Yodlee alleges: “Plaintiffs’ claims are barred to the extent

                                  19   that Plaintiffs recover or have recovered any alleged damages or restitution already, including

                                  20   from sources other than Yodlee.” (Dkt. No. 99.) Again, Yodlee does not allege any facts

                                  21   regarding any actual recovery by any named Plaintiff, and, again, blames this failure on Plaintiffs’

                                  22   lack of factual detail in their complaint.

                                  23           In its twenty-eighth affirmative defense, Yodlee alleges:

                                  24                   Plaintiffs’ claims for punitive or exemplary damages are barred or
                                                       reduced by applicable law or are unconstitutional insofar as they
                                  25                   violate the due process protections afforded by the United States
                                                       Constitution, the excessive fines clause of the Eighth Amendment of
                                  26                   the United States Constitution, the Full Faith and Credit Clause of the
                                                       United States Constitution, Article 1, Section 17 of the Constitution
                                  27                   of the State of California, and any other applicable provisions of the
                                                       United States Constitution, the Constitution of California, or that of
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                                                       any other state whose laws may apply. See, e.g., BMW of N. Am. v.
                                   1                   Gore, 517 U.S. 559 (1996).
                                   2   (Dkt. No. 99.) Yodlee argues that this defense is self-explanatory and does not require any factual

                                   3   pleading. However, in the absence of any facts, it is not clear why this defense is applicable.

                                   4            The Court GRANTS the motion to strike as to these affirmative defenses with leave to

                                   5   amend.

                                   6                   ii.     Affirmative Defenses 5, 19 and 27.
                                   7            In its fifth affirmative defense, Yodlee alleges: “Plaintiffs’ claims are barred, in whole or in

                                   8   part, to the extent any allegedly wrongful conduct occurred outside of California or the application

                                   9   of California law to Plaintiffs or members of the putative class is otherwise improper.” (Dkt. No.

                                  10   99.) In its nineteenth affirmative defense, Yodlee alleges: “Plaintiffs’ claims are barred, in whole

                                  11   or in part, because Plaintiffs would be unjustly enriched if they recover from Yodlee for any of the

                                  12   conduct alleged in the Complaint.” (Dkt. No. 99.) In its twenty-seventh affirmative defense,
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                                  13   Yodlee alleges: “Plaintiffs failed to mitigate any damages they suffered and are therefore barred

                                  14   from recovering mitigatable damages.” (Dkt. No. 99.)

                                  15            Again, Yodlee does not allege any facts to support these defenses. While Yodlee argues

                                  16   some factual basis for these defenses in opposition to the motion to strike, those facts are not yet

                                  17   alleged in its answer. Therefore, the Court GRANTS the motion to strike as to the Fifth,

                                  18   Nineteenth, and Twenty-Seventh Affirmative Defenses, with leave to amend.

                                  19                                               CONCLUSION

                                  20            For the foregoing reasons, the Court GRANTS Plaintiffs’ motion to strike. The Court

                                  21   STRIKES Yodlee’s Affirmative Defense Nos. 1-2, 6-8, 14-16, 18, and 23-26 with prejudice.

                                  22            The Court FURTHER GRANTS the motion to strike Yodlee’s Affirmative Defense Nos.

                                  23   3, 5, 9, 19, 27, and 28, with leave to amend. If Yodlee elects to amend these affirmative defenses,

                                  24   Yodlee shall file an amended answer within thirty days.

                                  25            IT IS SO ORDERED.

                                  26   Dated: December 6, 2021

                                  27                                                      ______________________________________
                                                                                          SALLIE KIM
                                  28                                                      United States Magistrate Judge
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